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 2
 3                                UNITED STATES DISTRICT COURT
 4                                       DISTRICT OF NEVADA
 5
 6   UNITED STATES OF AMERICA,                 )
                                               )
 7                     Plaintiff,              )                Case No. 2:11-cr-00442-GMN-GWF
                                               )
 8   vs.                                       )                ORDER
                                               )
 9   ERIC TYRONE JACKSON,                      )
                                               )
10                     Defendant.              )
     __________________________________________)
11
12          This matter is before the Court on Gordon R. Goolsby’s (“counsel”) Motion to Withdraw as
13   Counsel of Record (ECF No. 273), filed on July 26, 2016.
14          Counsel represents that he is no longer able to represent Defendant because he has taken a
15   job with the Attorney General’s office and as a result must withdraw from his current cases by
16   August 15, 2016. Counsel requests that Defendant be appointed new counsel to assist him in this
17   matter. The Court finds that counsel has provided good cause to justify granting his withdrawal.
18   Accordingly,
19          IT IS HEREBY ORDERED that Gordon R. Goolsby’s Motion to Withdraw as Counsel of
20   Record (ECF No. 273) is granted. The Clerk of the Court shall remove Gordon R. Goolsby, Esq.
21   from the CM/ECF service list in this case.
22          IT IS FURTHER ORDERED that CHRISTOPHER T. RASMUSSEN, ESQ. is appointed
23   as counsel for Defendant Eric Tyrone Jackson for all future proceedings. Appointed counsel shall
24   enter an appearance in this matter by August 12, 2016.
25   ...
26   ...
27   ...
28   ...
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 1          IT IS FURTHER ORDERED that appointed counsel shall file any appropriate motion or
 2   stipulation no later than December 26, 2016 pursuant to the District of Nevada First Amended
 3   General Order 2015-03 (D. Nev. 2016).
 4          DATED this 27th day of June, 2016.
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 6                                               ______________________________________
                                                 GEORGE FOLEY, JR.
 7                                               United States Magistrate Judge
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